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1
                                     UNITED STATES DISTRICT COURT
2

3                                            DISTRICT OF NEVADA
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4
      James V. Deppoleto, Jr.,
5                                                            Case No. 2:22-cv-02013-GMN-VCF
                            Plaintiff,
6     vs.                                                    ORDER
7     Takeover Industries Incorporated.,                     MOTION FOR LEAVE TO FIRST AMENDED
                                                             COMPLAINT [ECF NO. 22]
8                           Defendant.

9

10          After the time to amend as of right has expired, the plaintiff may amend its complaint only with
11
     the opposing party's written consent or leave of court. Before the deadline for amending pleadings set in
12
     the scheduling order, the court should freely give leave when justice so requires. Fed. R. Civ. P.
13
     15(a)(2). Per Local Rule 7-2(d), the failure of an opposing party to file points and authorities in response
14
     to any motion, except a motion under Fed. R. Civ. P. 56 or a motion for attorney’s fees, constitutes a
15
     consent to the granting of the motion. There is not a scheduling order in this case yet. See ECF No. 23.
16
     The defendant has not responded to the plaintiff’s motion for leave to file a first amended complaint, so
17
     it has consented to the Court granting this motion.
18

19          ACCORDINGLY,

20          I ORDER that plaintiff’s motion for leave to file an amended complaint (ECF No. 22) is

21   GRANTED. Plaintiff has until Friday, September 22, 2023 to file the amended complaint on the docket.

22          IT IS SO ORDERED.
23          DATED this 15th day of September 2023.
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25                                                                CAM FERENBACH
                                                                  UNITED STATES MAGISTRATE JUDGE
